                   IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


 FOOD LION, LLC, AND MARYLAND
 AND VIRGINIA MILK PRODUCERS
 COOPERATIVE ASSOCIATION, INC.,

                       Plaintiffs,                                  1:20-CV-442
v.

DAIRY FARMERS OF AMERICA, INC.,

                       Defendant.



                                     RULE 502(d) ORDER

       Pursuant to Federal Rule of Civil Procedure 26(c), the parties have entered into a

Protective Order concerning the handling and use of Confidential, Highly Confidential—

Attorney’s Eyes Only, and Highly Confidential—Outside Counsel Eyes Only Material

(“Protected Materials”) in this action. That Protective Order does not address procedures

for filing motions or other documents under seal or otherwise lodging those Protected

Materials on the Court record. As set forth in the Court’s Standard Preliminary Order for

All Civil Cases, “[t]he Court discourages motions to seal, especially in connection with

motions, unrelated to discovery disputes, as the public has a strong interest in access to

court records and courts have a strong interest in transparency.” With these interests in

mind, the parties stipulate and the Court orders the parties to follow these additional

procedures:




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  (1)    THE TERMS OF THIS ORDER TAKE PRECEDENCE.

         While the Protective Order is intended to be consistent with this Supplemental

Protective Order, to the extent they are inconsistent, this Supplemental Protective Order

controls. Any item or document submitted to the Court in violation of this Order is

subject to being stricken.


 (2)     NOTHING MAY BE FILED UNDER SEAL WITHOUT A COURT
         ORDER.

         The parties may not file any pleading, motion, brief or exhibit or part thereof

under seal without obtaining separate approval from the Court, except as authorized by

these procedures. To the extent these procedures are inconsistent with Local Rule 5.4 or

this Court’s Standard Preliminary Order, these procedures control.

         The parties are directed to minimize the amount of material that they seek to file

under seal and to exclude confidential information from court filings unless directly

relevant to the issue to be considered. The parties have discussed the issues of

confidentiality raised in this case and the potential need for filing documents under seal.

At this time, the parties anticipate that a number of documents may need to be filed under

seal.

 (3)     PROCEDURES FOR FILING DOCUMENTS UNDER SEAL

         To the extent any documents are filed under seal, the parties agree and the Court

 directs the parties to utilize the following procedures:

                Sealing is Disfavored. Sealed documents should not be filed unless

necessary for determination of the matter before the Court. If only non-confidential

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portions of a document are necessary, only those portions should be filed, immaterial

portions should be redacted, and no motion to seal should be filed.

              Motion To Seal and Evidentiary Support Required. Except as provided

in Sections (3)(e) and (3)(f), documents will not be sealed absent a motion to seal and an

order of the Court. Motions to seal must:

                         contain a non-confidential description of what is to be sealed,

                         be filed on the public docket, and

                         be supported by a sufficient showing by the party seeking

              confidentiality as to why sealing is necessary and why less drastic

              alternatives will not afford adequate protection, with evidentiary support,

              including affidavits or declarations, and with citation to any supporting

              statutes, case law, or other authority. If confidential information needs to

              be discussed or provided to make this showing, a sealed supplement to the

              motion to seal may be filed separately. This showing also must address the

              length of time for which sealing is sought.

              Detailed Procedures for Motions to Seal. Motions to seal must be filed in

accordance with the following procedures:

                         If a party seeks to file documents or portions of documents under

seal, the party must file a public motion to seal as required in Sections (3)(b)(1)-(3). A

brief is not required.

                         If the filing party is the party claiming confidentiality, the materials

required in Sections (3)(b)(1)-(3) must be filed with the motion. If the filing party is not

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the party claiming confidentiality, the materials required in Sections (3)(b)(1)-(3) must be

filed by the party claiming confidentiality within fourteen (14) days of the motion to seal,

and the filing party must meet and confer with the party claiming confidentiality as soon

as practicable, but at least two (2) days before filing of such documents, to discuss

narrowing the claim of confidentiality. The motion to seal must certify that the required

conference has occurred, and the party claiming confidentiality must file supporting

materials pursuant to the default procedures set forth above within fourteen (14) days of

the motion to seal. Any opposition or objection to sealing by a party must be filed within

fourteen (14) days of the filing of the supporting materials required by Sections (3)(b)(1)-

(3). Failure to file these supporting materials will result in denial of the motion to seal

and unsealing of the materials without further notice.

                     The movant must, within three (3) days of filing the motion to seal:

                     (i)     submit a completed Checklist (Exhibit A) to this Court’s ECF

                             mailbox; and

                     (ii)    if more than three documents are subject to the motion to

                             seal, file a summary chart (Exhibit B).

                     A party filing a motion to seal may elect to have the underlying

documents withdrawn if the motion to seal is denied and no other party has relied upon

the documents, in which case the documents will not be considered by the Court. Any

such election must be included in the initial motion to seal, and if the motion to seal does

not include such an election, the documents will be unsealed if the motion to seal is

denied.

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               Temporary Filing of Sealed Documents. Until the Court rules on the

motion to seal, the underlying documents shall be filed under temporary seal. To provide

clarity on the CM/ECF docket, the party filing documents under seal must file two

complete sets of documents, one public and one under temporary seal, as follows:

                      The public set of the underlying documents shall be filed as a single

docket entry, with the primary document (i.e., motion, brief, complaint) filed as the main

docket entry and each supporting document filed as an attachment to the main docket

entry. Information sought to be sealed shall be redacted. If an attachment is sealed in its

entirety, there must be a placeholder so indicating.

                      The full, unredacted version of the underlying documents shall be

filed under temporary seal in a single docket entry, with the primary document (i.e.,

motion, brief, complaint) filed as the main docket entry and each supporting document

filed as an attachment to the main docket entry, with the information sought to be sealed

highlighted.

                      Upon request of the Clerk, the party seeking to seal shall provide a

judge’s copy of the complete unredacted document, with the redacted part clearly

highlighted, to facilitate review.

               Discovery Motions. Because discovery materials are not usually subject to

a public right of access, no motion to seal is required for discovery motions and related

briefing; but the filer must file a public version and a sealed version consistent with

Sections (3)(d)(1)-(3). In addition, the filer must include a certification signed by counsel

outlining the basis for the claim of confidentiality for each item filed under seal, or noting

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that the materials filed under seal were designated by another party as confidential. For

material designated by another party as confidential, the party claiming confidentiality

must file a certification within fourteen (14) days of the filing of the sealed documents,

outlining the basis for the claim of confidentiality for each item. Failure to file a

certification within fourteen (14) days will result in unsealing of the materials without

further notice. Filings pursuant to this subsection are subject to motions to lift the seal

and to sua sponte review by the Court. The Court may lift the seal as to some or all of

the information if such sealed filings are overbroad or are otherwise inappropriate.

               Exceptions. No motion is required to file the following under seal:

                      Documents for which sealing is provided by a governing statute,

rule, or order, but in that case the face of the document should specifically note the

statute, rule, or order providing for sealing, and the CM/ECF filer shall provide public

notice by stating in the docket entry that the document contains sealed material pursuant

to the specified statute, rule, or order.

                      Financial Affidavits of individuals seeking representation of an

attorney at government expense under the Criminal Justice Act;

                      Motions for issuance of criminal subpoenas;

                      Motions to seal indictments and for issuance of corresponding arrest

warrants;

                      Motions for leave to subpoena witnesses at Government expense

under the Criminal Justice Act;

                      Motions for issuance of writs of habeas corpus ad testificandum;

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                     Motions filed pursuant to Section 5K1.1 of the United States

Sentencing Guidelines for a downward departure;

                     Motions filed pursuant to 18 U.S.C. § 3553(e) for authority to

impose a sentence below a statutory minimum;

                     Motions filed pursuant to Rule 35(b) of the Federal Rules of

Criminal Procedure to reduce a sentence for substantial assistance;

                     Motions and pleadings identifying national security information;

                     Motions filed pursuant to 18 U.S.C. § 4241 for determination of

mental competency to stand trial and pursuant to 18 U.S.C. § 4242 for determination of

the existence of insanity at the time of the offense;

                     Administrative records in Social Security cases;

                     Presentence Investigation Reports, Position Papers Regarding

Sentencing Factors, and other sentencing memorandums pursuant to Local Criminal Rule

32.2; and

                     Unexecuted criminal summonses or warrants.


 (4)    EVIDENCE AT TRIAL REQUIRES A SEPARATE MOTION AND
        ORDER TO BE SEALED.

        To seal or otherwise restrict access to an exhibit or other document introduced

during a hearing, trial, or other court proceedings, the party must make a separate motion

before the court conducting the proceedings and provide sufficient justification for

sealing. Likewise, to seal any portion of a transcript of a court proceeding, the party must

file a separate motion to seal before the court that conducted the proceeding.

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 (5)     SEALING DOCUMENTS OR RESTRICTING ACCESS IN
         PROCEEDINGS BEFORE ANY OTHER COURT MUST BE
         ADDRESSED UNDER THE RULES OF THAT COURT.

        If the parties later proceed before any other court, including appeals in this case,

they must follow the rules of that court as to sealing or restricting access to documents.


 (6)     THE PROTECTIVE ORDER AND THIS SUPPLEMENTAL
         ORDER MAY NOT BE MODIFIED WITHOUT LEAVE OF
         COURT.

        This order and the Protective Order may not be modified by agreement of the

parties. Orders may be modified only with leave of Court on a motion of the parties.

 (7)     ALL SEALED DOCUMENTS SHALL BE DISPOSED OF PURSUANT TO
         L.R. 79.4.

        L.R. 79.4 provides for disposition of documents filed with the Court. That rule

will control sealed documents unless otherwise ordered at the conclusion of the case.

        This the 31st day of August, 2020.




                                             _______________________________
                                             UNITED STATES DISTRICT JUDGE




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                                     EXHIBIT A

Checklist

            _____   Public Version filed with redactions noted (Doc. #______)


            _____   Sealed Version filed with all attachments included (Doc. #_____)


            _____   Sealed Version is highlighted to show what was redacted


            _____   Public Motion to Seal is filed (Doc. #____) with a non-confidential
                    description of what is to be sealed and

                    ___ a sufficient showing as to why sealing is necessary and why
                    less drastic alternatives to sealing will not afford adequate
                    protection, with evidentiary support including affidavits; or

                    ___   a statement that another party claims confidentiality


            _____   Supplement to Motion to Seal

                    ___ was filed under seal (Doc. #____) to discuss confidential
                    information in order to make the requisite showing

                    ___ was not necessary


            _____   Does the Motion include an election to have the underlying
                    documents withdrawn if the Motion to Seal is denied?

                    ____ Yes                    ___No


            _____   Summary Chart (Exhibit B)

                    ___ is not required because three or fewer documents are subject
                    to the motion to seal; or
                    ___ has been filed because four or more documents are subject to
                    the motion to seal.
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                                    EXHIBIT B

Summary Chart

Docket    Docket    Description Party (or       Length    Any
No. of    No. of    of Document non-party)      of time   disagreement Basis for
Public    Sealed                designating     to be     as to        Sealing1
Version   Version               as              sealed    sealing?
                                confidential




     1
      This explanation should be short, with a more detailed explanation and supporting
     materials provided separately as required above in Section (2)(c)(2). A non-
     exhaustive list of examples includes:

     1. reveals trade secrets of a party (or non-party)
     2. reveals proprietary business methods of a party (or non-party)
     3. confidential financial records
     4. confidential personal health information
     5. contains confidential personnel information regarding other employees of
     defendant
     6. reveals information regarding a minor
     7. contains information ordered sealed by the court on DATE [Docket No. XX]




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